Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 1 of 17 PageID #: 18453




                             Exhibit A
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 2 of 17 PageID #: 18454




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

  CAREDX, INC.,                         )
                                        )
              Plaintiff,                )
                                        ) C.A. No. 19-662 (CFC)
        v.
                                        )
  NATERA, INC.,                         )
                                        )
              Defendant.                )

            NATERA’S SURREPLY BRIEF IN OPPOSITION TO
          CAREDX’S MOTION FOR A PERMANENT INJUNCTION

  OF COUNSEL:                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                       Jack B. Blumenfeld (#1014)
  Kristin J. Achterhof
                                       Derek J. Fahnestock (#4705)
  Julia L. Mazur
                                       Anthony D. Raucci (#5948)
  Martin S. Masar III, Ph.D.
                                       1201 North Market Street
  KATTEN MUCHIN ROSENMAN LLP
                                       P.O. Box 1347
  525 West Monroe Street
                                       Wilmington, DE 19899
  Chicago, IL 60661
                                       (302) 658-9200
                                       jblumenfeld@morrisnichols.com
  Christina L. Costley
                                       dfahnestock@morrisnichols.com
  Paul S. Yong
                                       araucci@morrisnichols.com
  KATTEN MUCHIN ROSENMAN LLP
  2029 Century Park East, Suite 2600
  Los Angeles, CA 90067
                                       Attorneys for Defendant Natera, Inc.
  Bruce G. Vanyo
  KATTEN MUCHIN ROSENMAN LLP
  575 Madison Avenue
  New York, NY 10022

  Timothy H. Gray
  KATTEN MUCHIN ROSENMAN LLP
  2900 K St. NW, Suite 200
  Washington, DC 20007
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 3 of 17 PageID #: 18455




                                             TABLE OF CONTENTS

  Table of Authorities .................................................................................................. ii

  Introduction ................................................................................................................ 1

  Argument.................................................................................................................... 2

  I.       CareDx’s Requested Injunction Remains Impermissibly Overbroad. ............ 3

  II.      CareDx Continues to Seek Relief to Which It Is Not Entitled. ....................... 8

  Conclusion ............................................................................................................... 10

  Certificate of Compliance ........................................................................................ 12




                                                                i
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 4 of 17 PageID #: 18456




                                        TABLE OF AUTHORITIES

                                                                                                                  Page(s)

  Cases

  Align Technology, Inc v. 3Shape A/S,
     No. 17-cv-1647-LPS, 2020 WL 5979353(D. Del. Oct. 8, 2020) ...................... 2

  Castrol Inc. v. Pennzoil Co., 987 F.2d 939 (3d Cir. 1993) ................................. 4, 5

  Castrol, Inc. v. Quaker State Corp., 977 F.2d 57 (2d Cir. 1992) ....................... 4, 5

  De Simone v. Alfasigma USA, Inc., 847 F. App’x 174 (4th Cir. 2021) .................. 8

  Gavrieli Brands LLC v. Soto Massini (USA) Corp., No. 18-cv-462
    (MN), 2020 WL 1443215 (D. Del. Mar. 24, 2020) ........................................... 3

  Groupe SEB USA, Inc. v. Euro-Pro Operating LLC, 774 F.3d 192
    (3d Cir. 2014) ..................................................................................................... 5

  Mallet & Co. Inc. v. Lacayo, 16 F.4th 364 (3d Cir. 2021) ................................. 4, 8

  Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck
    Consumer Pharmaceuticals Co., 290 F.3d 578 (3d Cir. 2002) ......................... 3

  Rules

  D. Del. LR 7.1.3 .................................................................................................. 1, 2

  Fed. R. Civ. P. 65 .................................................................................................... 1




                                                              ii
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 5 of 17 PageID #: 18457




                                   INTRODUCTION

        CareDx’s revised proposed injunction does not cure the fatal deficiencies of

  its original proposal—one that indisputably did not comply with Federal Rule of

  Civil Procedure 65.1 CareDx’s attempted do-over, presented for the first time with

  its Reply Brief, proposes a completely different—but still noncompliant—

  injunction. Its proposal should be rejected in the first instance because it is untimely

  under D. Del. LR 7.1.3(c)(2). More fundamentally, it remains overbroad, and lacks

  the specificity required by the Federal Rules. CareDx’s revised proposed injunction

  would restrain or chill lawful speech, and threatens to transform this Court into a

  permanent arbiter of scientific reliability for as long as these products remain in

  competition, obliging the Court to weigh in each time new research is released.

        Even if the Court does not grant Natera’s Motion for JMOL, a narrower

  injunction would adequately protect CareDx’s interests. CareDx contended that two

  kinds of statements were “literally false”: (1) certain “unreliable” comparisons

  between results reported in the Sigdel paper (“Sigdel”) and the Bloom paper

  (“Bloom”); and (2) an implicit “claim” that Prospera had high sensitivity in patients

  18 years old and under, based on data in Sigdel. An order limited to those “claims,”

  as outlined in Section I, infra, would prohibit Natera from repeating the claims found


  1
    CareDx asserts that it “is not conceding that its initial Proposed Order was
  overbroad” (D.I. 363 at 2 n.1) but does not explain how that Proposed Order was
  compliant with Rule 65 or cite any authority permitting a plaintiff to ignore it.
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 6 of 17 PageID #: 18458




  by the jury to be false. CareDx’s unacceptable revised injunction, by contrast, would

  restrain lawful speech and impose burdensome, unreasonable obligations on Natera

  and the Court.

                                     ARGUMENT

        Contrary to CareDx’s assertion, Natera fundamentally disputes CareDx’s

  entitlement to an injunction for the reasons set forth in its JMOL motion. (D.I. 340,

  348.) Pending resolution of the parties’ post-trial motions, however, Natera has

  removed the claims at issue from its website and marketing materials. Should the

  Court agree that CareDx failed to adduce sufficient evidence of falsity or any other

  element of its claims, no injunction is warranted.

        Even if this Court excuses CareDx’s failure to submit an appropriate

  injunction with its opening brief, but see, e.g., Align Tech., Inc v. 3Shape A/S, No.

  17-cv-1647-LPS, 2020 WL 5979353, at *3 (D. Del. Oct. 8, 2020) (“The Court will

  not evaluate the merits of this contention because it is untimely and waived.” (citing

  LR 7.1.3)), CareDx’s second try at a Proposed Order remains impermissibly

  overbroad. Among other things, CareDx continues to seek an injunction that would

  enjoin advertising claims that were never addressed at trial, and are neither false nor

  misleading.

        In contrast, the Court would adequately address the claims found to be false

  by entering an injunction limited to (i) the statements at issue (ii) insofar as they



                                            2
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 7 of 17 PageID #: 18459




  relied upon the Sigdel paper. Such an injunction would supply “the narrowest

  remedy possible” to avoid stifling lawful speech and fair competition or enlisting the

  Court as a roving board of scientific review. Novartis Consumer Health, Inc. v.

  Johnson & Johnson-Merck Consumer Pharms. Co., 290 F.3d 578, 599 (3d Cir.

  2002).

  I.     CAREDX’S REQUESTED INJUNCTION REMAINS
         IMPERMISSIBLY OVERBROAD.

         CareDx’s revised proposed order corrects only its most glaring violation of

  Federal Rule of Civil Procedure 65(d): it no longer incorporates the Jury Verdict

  Form by reference. (D.I. 363-1.) But the revised injunction still runs afoul of Rule

  65’s requirements that it “state its terms specifically” and “describe in reasonable

  detail . . . the act or acts restrained.” Fed. R. Civ. P. 65(d).2

         CareDx’s arguments fail for three main reasons:


  2
    Although CareDx’s revised proposed order does not seek an injunction for “claims
  that are not colorably different from the False Advertising Claims,” CareDx
  continues to defend such a request. Compare D.I. 363 at 6 (Reply), with D.I. 363-1
  at 5 (no longer including such language). As CareDx notes, Natera objected to this
  provision as vague. (D.I. 363 at 6.) An inherently subjective term like “colorably
  different” does not “reasonably” describe the “act or acts” restrained where prior
  restraints on speech are at issue. CareDx’s only argument for this language is that
  courts “regularly” use it—but it cites only a single case (D.I. 363 at 6 (citing Gavrieli
  Brands LLC v. Soto Massini (USA) Corp., No. 18-cv-462 (MN), 2020 WL 1443215
  (D. Del. Mar. 24, 2020)), and the provision in that case applied to patents, where
  “colorably different” is the “proper” test under Federal Circuit precedent. Gavrieli,
  2020 WL 1443215, at *9 (rejecting challenge to “‘not colorably different’ language
  in the patent-related provision”). CareDx provides no authority to support including
  such a vague prior restraint in a false advertising cases, and Natera is aware of none.

                                               3
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 8 of 17 PageID #: 18460




        First, although CareDx now proposes to limit its injunction to claims “based

  on the scientific support presented at trial,” its new proposal remains fatally

  overbroad. Numerous papers were “presented” at trial, including Sigdel, Bloom,

  Huang, and Altug. For all but one of the challenged “False Advertising Claims,”

  CareDx’s sole theory of liability was that the claims were false because they were

  based on “unreliable comparisons” between Sigdel and Bloom. (See, e.g., 3/14,

  1348:21-1369:6.) CareDx’s proposed injunction, however, sweeps much broader—

  it suggests that Natera may not make these claims based on any comparison to

  Bloom, Huang, or Altug, no matter what the comparator study is or how reliable the

  comparison, either present       or   future. To    ensure that     Natera is not

  “restrain[ed]…from engaging in lawful business activities,” Mallet & Co. Inc. v.

  Lacayo, 16 F.4th 364, 390 (3d Cir. 2021), any injunction should be limited to

  advertising claims that were actually at issue.

        The Castrol cases cited by CareDx (D.I. 363 at 6-7) are inapposite because

  they involved bare competitive superiority claims, and direct-consumer television

  marketing. In both cases, the advertisements asserting bare superiority claimed, at

  most, that unidentified “tests proved” the propositions. See Castrol Inc. v. Pennzoil

  Co., 987 F.2d 939 (3d Cir. 1993); Castrol, Inc. v. Quaker State Corp., 977 F.2d 57,

  59-60 (2d Cir. 1992). This case is different—because the alleged false advertising

  claims involved specific studies directed to sophisticated transplant nephrologists.



                                            4
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 9 of 17 PageID #: 18461




  By tying its injunction to the “scientific support identified at trial,” CareDx concedes

  that Castrol is inapplicable here.

        In addition, CareDx’s proposed reading of the Castrol decisions—as

  extending beyond bare superiority claims—would risk pressing this Court into

  service as a permanent board of review for the “reliability” of future research.

  CareDx’s claims were based on critiques of Sigdel and whether Sigdel’s results

  could be “reliably compar[ed]” to those from Bloom. Any injunction should be

  correspondingly limited to claims based on the Sigdel paper.

        Second, CareDx argues that, because the agreed-upon jury verdict form

  included images it proposes to reproduce in the Permanent Injunction, Natera is

  bound to accept those images as the measure of its permanently restrained speech.

  (D.I. 363, at 8.) CareDx cites no authority for that proposition, because there is none.

  The scope of an injunction is left to the Court’s discretion. See, e.g., Groupe SEB

  USA, Inc. v. Euro-Pro Operating LLC, 774 F.3d 192, 206 (3d Cir. 2014) (“District

  Courts are afforded considerable discretion in framing injunctions.” (quotation

  marks omitted)). The images assisted the jury by supplying context for the allegedly

  false claims—but they also included assertions that CareDx never challenged (e.g.,

  “5x higher repeatability at 0.6% donor fraction (CV)”) or that the jury found not to

  be false (e.g., “First test to consistently detect subclinical rejection”). (See D.I. 357

  at 5.) Furthermore, the “falsity” of the purported pediatric claim (D.I. 329 at 13) was



                                             5
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 10 of 17 PageID #: 18462




  necessarily based on an inference—CareDx’s reproduction of the image without

  articulating a statement would fail to enjoin with specificity what it asserts to be

  false.

           To provide the requisite specificity and detail, any injunction must identify

  the specific statements CareDx contended were false. Indeed, CareDx listed those

  statements in its Opening Brief (although its articulation was overbroad, see D.I. 357

  at 4-5), and acknowledges that these statements are what it seeks to enjoin. (D.I. 363

  at 2 n.1 (“CareDx maintains that all of the false statements identified in its Opening

  Brief should be enjoined.”)). Based on the verdict form, trial record, and CareDx’s

  post-trial briefing, Natera understands the false “statements” at issue, and the

  corresponding numbers in CareDx’s revised proposed injunction, to be:

    “More sensitive and specific than current assessment tools across all types of
     rejection,” based on a comparison of Prospera and AlloSure performance results
     reported in Sigdel and Bloom (1);

    “Unparalleled precision,” based on a comparison of Prospera and AlloSure
     performance results reported in Sigdel and Bloom (2);

    Prospera has higher sensitivity and higher area under the curve (AUC) than
     AlloSure, based on a comparison of Prospera and AlloSure performance results
     reported in Sigdel and Bloom (3, 4, 5);

    Prospera has higher NPV than AlloSure and misses 3x fewer rejections, based
     on a comparison of Prospera and AlloSure performance results reported in
     Sigdel and Bloom (6, 7);

    Prospera has “[h]igher area under the curve; driven by superior clinical data,”
     based on a comparison of Prospera and AlloSure performance results reported
     in Sigdel and Bloom (8); and


                                             6
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 11 of 17 PageID #: 18463




       Prospera is “highly sensitive” in patients “[b]elow 18 years of age,” based on
        results reported in Sigdel (9).

           If the Court is inclined to permanently enjoin Natera, and to consider

  CareDx’s untimely proposal in reply, it should limit and define the scope of the

  injunction by tailoring it to the statements at issue, as bulleted above.

           Finally, CareDx’s revised injunction is overbroad to the extent it would

  require Natera to “identify[] the scientific support” if it intends to make comparative

  claims based on future scientific research. (D.I. 363-1 at 5.) Because CareDx did not

  make this request in its initial proposed injunction, it is waived. Its Reply Brief cites

  no authority for an order compelling speech in this way, and makes no substantive

  argument for including this provision. It only notes in passing that its revised

  proposal would compel the speech, without articulating any justification for doing

  so. (D.I. 363 at 7, 11.)

           Equally problematic, CareDx’s proposal that this Court preclear Natera’s

  advertising risks further conscripting this Court as a permanent scientific review

  board. CareDx’s baseless demand, which is waived, improperly burdens the Court.3




  3
    It is also vague. CareDx does not explain what it means by “identifying the
  scientific support,” and so gives no indication of when it would move for contempt
  sanctions for failure to sufficiently “identify” support by its (undisclosed) standards.

                                             7
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 12 of 17 PageID #: 18464




  II.   CAREDX CONTINUES TO SEEK RELIEF TO WHICH IT IS NOT
        ENTITLED.

        Even as it ostensibly narrows its requested relief, CareDx continues to seek

  an injunction restraining speech that was never at issue— any reference to Prospera’s

  use in pediatric patients, and any use of the phrase “unparalleled precision.” (D.I.

  363 at 8-11.) What is more, CareDx’s revised injunction now also improperly seeks

  to dictate the citation practices of Natera’s advertising in perpetuity. CareDx’s

  insistence on overbreadth reinforces why any injunction must be “narrowly

  tailored,” Mallet, 16 F.4th at 389, and “carefully addressed to the circumstances of

  the case.” De Simone v. Alfasigma USA, Inc., 847 F. App’x 174, 183-84 (4th Cir.

  2021) (non-precedential) (quotation marks omitted).

         The overbreadth of CareDx’s proposed injunction is starkly illustrated by its

  contention that the Tweet claiming validation in pediatric patients is “literally false.”

  (D.I. 363 at 10.) That Tweet, and the claim in it, were never at issue in this case.

  CareDx argued that it was false to claim Prospera is “highly sensitive” in patients

  under 18 because the results reported in the Sigdel paper did not support it. (3/9,

  155:5-156:3 (Weisbord: disagrees with slide because Sigdel reported “children did

  not have any rejections” so it is not “possible to calculate a sensitivity”); 3/14,

  1436:4-9 (identifying source of falsity as Sigdel paper; “when you think about




                                             8
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 13 of 17 PageID #: 18465




  the…pediatric claims…, it is not like there’s something else in terms of analysis”).4

  Yet despite arguing at trial that Natera had “[no]thing else in terms of analysis” to

  support such a claim, CareDx now argues that a different statement based on

  subsequent data and analysis not presented at trial is still false—a position

  irreconcilable with its assurance that “only claims based on the scientific data

  presented at trial will be enjoined.” (D.I. 363 at 10-11.) CareDx’s effort to block or

  chill speech that was never addressed in this litigation should be rejected, as should

  its attempt to police Natera’s scholarship citation practices indefinitely.

           CareDx also argues that it “proved, and the Jury found…Natera’s superiority

  claim of ‘[u]nparalleled precision’ is literally false.” (D.I. 363 at 8-9.) But CareDx

  did not contend that this phrase was false when used in the abstract, when used in

  reference to serum creatinine, or when otherwise used in advertising that does not

  include the comparisons between Prospera and AlloSure that the jury found false.

  Rather, CareDx consistently argued that “unparalleled precision” was false in a two-

  page advertising spread connected to four surrounding comparative claims about

  AlloSure. (See 3/9, 151:8-23 (Weisbord: “[T]here are four quadrants. All of them

  are pointing to this center circle that says ‘unparalleled precision.’”); 3/14, 1369:1-

  3 (“Here, unparalleled precision that incorporates all four [comparisons]. It has a line

  to each.”), 1378:13-18 (“So unparalleled precision, we’re the best. And then it ties

  4
      Citations to March 9, 2022 transcript are to the unofficial transcript.

                                               9
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 14 of 17 PageID #: 18466




  into the four quadrants in that spread that we saw.”). The image in the verdict form

  illustrated that context—and it was only in that context the jury found the advertising

  false. Further enjoining the phrase “unparalleled precision” in contexts where it was

  not found false would be overbroad.

                                      CONCLUSION

        The Court should deny CareDx’s Motion for a Permanent Injunction. To the

  extent any injunction is issued, it must be narrowly tailored to the specific

  performance claims and comparisons that were litigated and that the jury found to

  be false, as outlined in the bullet points set forth in Section I.




                                             10
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 15 of 17 PageID #: 18467




                                        MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                        /s/ Anthony D. Raucci

   OF COUNSEL:                          Jack B. Blumenfeld (#1014)
                                        Derek J. Fahnestock (#4705)
   Kristin J. Achterhof                 Anthony D. Raucci (#5948)
   Julia L. Mazur                       1201 North Market Street
   Martin S. Masar III, Ph.D.           P.O. Box 1347
   KATTEN MUCHIN ROSENMAN LLP           Wilmington, DE 19899
   525 West Monroe Street               (302) 658-9200
   Chicago, IL 60661                    jblumenfeld@morrisnichols.com
   (312) 902-5200                       dfahnestock@morrisnichols.com
                                        araucci@morrisnichols.com
   Christina L. Costley
   Paul S. Yong                         Attorneys for Defendant
   KATTEN MUCHIN ROSENMAN LLP
   2029 Century Park East, Suite 2600
   Los Angeles, CA 90067
   (310) 788-4400

   Bruce G. Vanyo
   Thomas Artaki
   KATTEN MUCHIN ROSENMAN LLP
   575 Madison Avenue
   New York, NY 10022
   (212) 940-8800

   Timothy H. Gray
   KATTEN MUCHIN ROSENMAN LLP
   2900 K Street NW, Suite 200
   Washington, DC 20007
   (202) 625-3500

  June 10, 2022




                                        11
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 16 of 17 PageID #: 18468




                        CERTIFICATE OF COMPLIANCE

        This brief complies with the type-volume limitations specified in the Court’s

  Standing Order Regarding Briefing in All Cases. According to the word processing

  system used to prepare this document, the brief contains 2,317 words. This total

  excludes the cover page, tables, signature block, certification, and certificate of

  service.

        I further certify that this brief complies with the typeface requirements set

  forth in the Court’s Standing Order Regarding Briefing in All Cases because this

  brief was prepared using Microsoft Word in 14-point Times New Roman font.


                                               /s/ Anthony D. Raucci
                                               ______________________________
                                               Anthony D. Raucci (#5948)




                                          12
Case 1:19-cv-00662-CFC Document 364-1 Filed 06/10/22 Page 17 of 17 PageID #: 18469




                             CERTIFICATE OF SERVICE

        I hereby certify that on June 10, 2022, I caused the foregoing to be

  electronically filed with the Clerk of the Court using CM/ECF, which will send

  notification of such filing to all registered participants.

        I further certify that I caused copies of the foregoing document to be served

  on June 10, 2022, upon the following in the manner indicated:

   Brian E. Farnan, Esquire                                     VIA ELECTRONIC MAIL
   Michael J. Farnan, Esquire
   FARNAN LLP
   919 North Market Street, 12th Floor
   Wilmington, DE 19801
   Attorneys for Plaintiff

   Edward R. Reines, Esquire                                    VIA ELECTRONIC MAIL
   Derek C. Walter, Esquire
   WEIL, GOTSHAL & MANGES LLP
   201 Redwood Shores Parkway
   Redwood Shores, CA 94065
   Attorneys for Plaintiff

   Randi W. Singer, Esquire                                     VIA ELECTRONIC MAIL
   Elizabeth McLean, Esquire
   WEIL, GOTSHAL & MANGES LLP
   767 Fifth Avenue
   New York, NY 10153
   Attorneys for Plaintiff



                                                  /s/ Anthony D. Raucci
                                                  ______________________________
                                                  Anthony D. Raucci (#5948)
